         Case 1:22-cv-07446-LGS Document 12 Filed 10/17/22 Page 1 of 3




                            CILENTI & COOPER, PLLC
                                    ATTORNEYS AT LAW
                                   60 East 42nd Street - 40th Floor
                                     New York, New York 10165
                                               _____
                                      Telephone (212) 209-3933
                                      Facsimile (212) 209-7102


                                              October 17, 2022

                                              PLAINTIFF’S PRE-MOTION LETTER


BY ECF
Honorable Lorna G. Schofield, U.S.D.J.
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

               Re:      Karen Delgado, et. al. v. 419 E. 70th Cafe, Inc., et. al.
                        Case No. 22 Civ. 7446 (LGS)

Dear Judge Schofield,

       We are counsel to plaintiff Karen Delgado (“plaintiff”) in the above-referenced action
brought pursuant to the Fair Labor Standards Act and New York Labor Law. This letter is sent
pursuant to the court’s Individual Practices, Sec. III(C)(2), to schedule a dispositive motion
dismissing defendants’ counterclaim pursuant to Fed. R. Civ. P. 12.
        This court lacks subject matter jurisdiction over the state law counterclaim because (1)
there is no connection between the counterclaim and plaintiff’s federal claims which would
support a finding that such claims are compulsory under Rule 13 of the Federal Rules of Civil
Procedure; and (2) defendants’ counterclaim is not “so related” to plaintiff’s FLSA claims that it
forms part of the same case or controversy, which is a prerequisite to the exercise of
supplemental jurisdiction over the counterclaim.
        On September 1, 2022, plaintiff filed a complaint alleging wage and hour violations
(failure to pay proper wages; overtime; spread of hours premiums; record keeping violations;
and, associated liquidated damages). [Docket 1]
        In their answer to plaintiff’s complaint, defendants assert three (3) counterclaims against
plaintiff for the tort of conversion; breach of duty of loyalty; and unjust enrichment. [Docket 10]
          Case 1:22-cv-07446-LGS Document 12 Filed 10/17/22 Page 2 of 3

Hon. Lorna G. Schofield, U.S.D.J.
October 17, 2022
Page 2

         Defendants’ counterclaims must be dismissed for lack of subject matter jurisdiction. “A
case is properly dismissed for lack of subject matter jurisdiction under Rule 12(b)(1) when the
district court lacks the statutory or constitutional power to adjudicate it.” Makarova v. United
States, 201 F.3d 110, 113 (2d Cir. 2000). To survive a Rule 12(b)(1) motion to dismiss, the party
asserting jurisdiction “has the burden of proving by a preponderance of the evidence that [subject
matter jurisdiction] exists.” Id. Here, defendant’s New York State counterclaims do not present a
federal question and defendants have not invoked this court’s diversity jurisdiction. See, Answer,
Docket 10. As such, there is no basis for the exercise of original subject matter jurisdiction,
unless the defendant shows the counterclaims are either (1) compulsory under Rule 13 of the
Federal Rules of Civil Procedure; or (2) so related to plaintiff’s federal claims that an exercise of
supplemental jurisdiction is appropriate.
        Compulsory counterclaims are claims that must be stated in a responsive pleading. Here
there is no connection between plaintiff’s wage and hour claims and defendant’s state law
conversion claims, other than the unmistakable possibility that defendant’s tort claim is
retaliatory in nature and only commenced because plaintiff filed a claim for unpaid wages and
overtime. The resolution of plaintiff’s wage and hour claims will involve inquiry into her hours
and pay, and defendant’s payroll practices, timekeeping and recordkeeping systems, and the
duties and responsibilities of the employer vis à vis its obligation to pay minimum wages and
overtime compensation under federal and state law. Defendants’ counterclaims, by contrast,
allege economic harm suffered by the defendant corporation, because of plaintiff’s alleged
conduct. Defendant should not be permitted to confuse and pollute the issues to be litigated by
bringing a retaliatory state law claim.
        As defendants’ counterclaims are not compulsory, they may be brought in this action
only if defendants establish a valid basis for the exercise of supplemental jurisdiction. In a civil
action in which the court has original jurisdiction, the district court may exercise supplemental
jurisdiction over “all other claims that are so related to claims in the action within such original
jurisdiction that they form part of the same case or controversy under Article III of the United
States Constitution.” 28 U.S.C. § 1367(a). To constitute the same Article III case or controversy,
the “state and federal claims much derive from a common nucleus of operative fact.” United
Mine Workers v. Gibbs, 383 U.S. 715, 725 (1966); see also, Ozawa v. Orsini Design Assoc.,
2015 U.S. Dist. LEXIS 29933 at *32-34 (S.D.N.Y. 2015). In determining whether two disputes
arise from a common nucleus of operative fact, courts inquire whether the facts underlying the
federal and state claims substantially overlapped or the federal claim necessarily brought the
facts underlying the state claim before the court. Achtman v. Kirby, McInerney & Squire, 464
F.3d 328, 335 (2d Cir. 2006).
        Here, there is no common nucleus of operative fact that connects plaintiff’s wage and
hour claims to defendant’s claims of conversion. The gravamen of plaintiff’s FLSA claims is that
defendants failed to comply with the assortment of legal requirements obligating them to pay
their employees at the proper rate for all hours worked. The focus of defendants’ counterclaims
shift the case to the employer’s alleged injuries. There is no overlap (much less substantial
overlap) between the facts that underly plaintiff Karen Delgado’s wage and hour claims and
defendants’ conversion claims. The only possible connection is that defendants’ claims are
blatantly retaliatory, brought because Ms. Delgado filed the within action. While such conduct
         Case 1:22-cv-07446-LGS Document 12 Filed 10/17/22 Page 3 of 3

Hon. Lorna G. Schofield, U.S.D.J.
October 17, 2022
Page 3

may yield damages for retaliation if defendants were to file suit in a different forum, retaliatory
counterclaims to not vest this court with subject matter jurisdiction over the claims themselves.
       For the foregoing reasons, we respectfully ask the court grant the within request leave to
move and set a date by which plaintiff should file her motion at twenty (20) days following the
close of mediation which will be scheduled in this case. We request defendants be given two (2)
weeks from the motion date to respond / oppose and that plaintiff be given two (2) weeks to
reply.
       Thank you for your consideration of this matter.
                                             Respectfully submitted,
                                             CILENTI & COOPER, PLLC
                                               /s/ Peter Hans Cooper
                                      By:    __________________________
                                                 Peter H. Cooper, Esq.
cc:    Defense Counsel (Via ECF)
